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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                )
                                         )
                             Plaintiff,  )
v.                                       )                    Criminal No. 05-20080-03-KHV
                                         )
ERIN HARMON,                             )
                                         )
                             Defendant. )
________________________________________)

                                MEMORANDUM AND ORDER

       On June 22, 2005, a grand jury returned a 13-count indictment against five defendants.1 See

Indictment (Doc. #1-2). The indictment charged Erin Harmon with conspiring to distribute cocaine

base (“crack cocaine”), possession with intent to distribute crack cocaine and maintaining a place for

the purpose of distributing controlled substances (Count 1); conspiracy to conduct money laundering

(Count 11); and four counts of money laundering and attempted money laundering (Counts 13-16).2


       1
             The indictment named as defendants Darren Wilburn, Evann Hardy, Erin Harmon,
Lamar Johnson and Robert Robinson a.k.a. Cowboy.
       2
               The indictment alleged the following as to Harmon:

               Count 1: From May 2001 to June 3, 2005, in violation of 21 U.S.C. §
               846, with reference to 21 U.S.C. § 841(b)(1)(A)(iii), conspiring to (1)
               distribute more than 50 grams or more of a mixture and substance
               containing cocaine base (“crack cocaine”) in violation of 21 U.S.C. §
               841(a)(1); (2) possession with intent to distribute more than 50 grams
               of crack cocaine in violation of 21 U.S.C. § 841(a)(1); and (3) leasing,
               renting, using and maintaining a place for the purpose of distributing
               and using controlled substances in violation of 21 U.S.C. § 856(a)(1).


               Count 11: From May 2001 to June 3, 2005, conspiring to conduct and
               attempt to conduct financial transactions affecting interstate
                                                                                          (continued...)
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This matter is before the Court on Defendant’s Motion[s] To Dismiss Count 13 Of The Indictment,

To Strike Certain Allegations From The Indictment, And To Suppress Evidence (Docs. #42 and #50)

filed September 6, 2005. For reasons set forth below, the Court overrules defendant’s motions.

I.     Motion To Dismiss Count 13

       Count 13 alleges that on July 11, 2004, defendant and co-defendant Darren Wilburn used

$2,000 in proceeds from unlawful activity to purchase a 1987 Chevrolet Monte Carlo from a private

individual in Lawrence, Kansas, and that they designed the transaction to conceal and disguise the

nature, location, source, ownership and control of the proceeds of said unlawful activity. Count 11

asserts that Wilburn instructed defendant to purchase the automobile and gave her cash for the

transaction, and that defendant titled and registered the vehicle in her name.




       2
        (...continued)
                commerce which involved proceeds of specified unlawful activity –
                i.e. conspiracy to distribute and possess with intent to distribute crack
                cocaine, distribution and possession with intent to distribute crack
                cocaine and maintaining a place for the manufacture, distribution and
                use of controlled substances – knowing that the transaction was
                designed in whole or in part to conceal and disguise the nature,
                location, source, ownership, and control of the proceeds in violation
                of 18 U.S.C. § 1956(h).

               Counts 13-16: Conducting and attempting to conduct specific
               financial transactions affecting interstate commerce which involved
               proceeds of specified unlawful activity (listed above) knowing that the
               transaction was designed in whole and in part to conceal and disguise
               the nature, location, source, ownership and control of the proceeds of
               said unlawful activity in violation of 18 U.S.C. § 2 and
               1956(a)(1)(A)(i) and 1956(a)(1)(B)(i).

See Indictment (Doc. #1-2) filed June 22, 2005.



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       Defendant asserts that this charge has no factual basis. Specifically, she asserts that she did

not purchase the Monte Carlo – that a co-defendant purchased the vehicle, then asked defendant to

register the car in her name. Defendant insists that she had nothing to do with the purchase. The

government counters that documents from the title history indicate that defendant purchased the car

from Quality Tow in July of 2004 and registered it with the Douglas County Treasurer’s office on

October 14, 2004.3

       To convict defendant under Count 13, the government must prove beyond a reasonable

doubt the following elements:

       (1) that defendant engaged in a financial transaction; (2) that defendant knew that the
       property involved in that transaction represented the proceeds of unlawful activities;
       (3) that the property involved was in fact the proceeds of that criminal enterprise; and
       (4) that defendant knew that “the transaction [was] designed in whole or in part to
       conceal or disguise the nature, the location, the source, the ownership or the control”
       of the proceeds of the specified unlawful activities. 18 U.S.C. § 1956(a)(1)(B)(i).

U.S. v. Garcia-Emanuel, 14 F.3d 1469, 1473 (10th Cir. 1994).

       In ruling on a motion to dismiss, the Court looks solely to the allegations on the face of the

indictment and accepts such allegations as true. See United States v. Reitmeyer, 356 F.3d 1313,

1317-18 (10th Cir. 2004). Defendant challenges the facts, which must be determined at trial. See

United States v. Kilpatrick, 821 F.2d 1456, 1462 n.4 (10th Cir. 1987). The Court therefore overrules

defendant’s motion to dismiss Count 13.

II.    Motion To Strike Certain Allegations From Indictment

       Defendant asserts that to the extent the indictment charges that defendant used proceeds




       3
               The government states that the purchase price was $1,200, not $2,000 as charged, and
that a superceding indictment is probably necessary to correct the error.

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from (1) conspiracy and (2) possession with intent to distribute crack cocaine, it fails to state a claim.

Defendant’s Motion at 2. Specifically, defendant maintains that it is factually impossible to obtain

funds as a result of conspiracy to distribute or possession with intent to distribute. Id. at 3. She also

asserts that the underlying crimes must have been completed before the money laundering offense.

Defendant asks the Court to strike allegations in the money laundering counts (11, 13-16) regarding

“using the proceeds of conspiracy to distribute cocaine base, conspiracy to possess with intent to

distribute cocaine base, and possession with intent to distribute cocaine base.” Id. With the

proposed revision, the money laundering counts would charge only that defendant used proceeds

obtained from distribution of cocaine base.

        As to the motion to strike allegations regarding proceeds obtained from conspiracy to

distribute, defendant’s motion lacks merit. As a member of the alleged conspiracy, defendant is

responsible for proceeds obtained from the conspiracy. Nothing requires that she obtained the

proceeds directly from her own distribution of cocaine base.

        As to possession with intent to distribute and conspiracy to possess with intent to distribute,

defendant cites Tenth Circuit cases which state that Congress intended the money laundering statute

to separately punish a defendant – without violating the double jeopardy clause – for monetary

transactions that follow in time the specified unlawful activity that generated the criminally derived

property in the first place. See United States v. Lovett, 964 F.2d 1029, 1042 (10th Cir. 1992); United

States v. Edgmon, 952 F.2d 1206, 1214 (10th Cir. 1991). These cases do not hold that the underlying

crime must be completely over, however, before the money laundering statute applies. Id. The

government maintains that “there are incidents when drugs are fronted to individuals and payments

are made later or when money must be given before the drugs are provided to the purchaser.”

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Response To Defendant’s Motion To Dismiss Count 13, To Strike Certain Allegations, And To

Suppress Evidence (“Government’s Response”) (Doc. #47) filed September 16, 2005 at 12. The

government does not state whether such evidence exists in this case. Defendant may be entitled to

a directed verdict on some of the allegations at trial, but to strike the allegations before trial would

be premature. The Court therefore overrules defendant’s motion to strike.

III.    Motion To Suppress

A.      Facts

        On October 25, 2005, the Court conducted an evidentiary hearing. The government presented

testimony by Detective Mike McAtee and Officer Tarik Khatib, of the Police Department of

Lawrence, Kansas. Defendant presented the testimony of her father, Mike Harmon. To the extent

that the testimony of McAtee or Khatib contradicts that of Harmon, the Court credits the testimony

of McAtee and Khatib.4

        McAtee testified that in late 2004, he began investigating drug-related criminal activity by

Wilburn. On February 24, 2005, he helped execute a search warrant of 2709 Ponderosa, a residence

leased by Evann Hardy. During the search, officers seized crack cocaine and a firearm. The drugs

did not have the drug stamp required by Kansas law, and the Kansas Department of Revenue

therefore issued a tax warrant for $8,000 in a bank account owned by Wilburn and Hardy. When

the bank did not immediately honor the tax warrant, Wilburn and/or Hardy withdrew all of the

money from the bank account.



        4
               Because Harmon is a captain in the Lawrence police department and because he is
defendant’s father, he has obvious interests in this matter. For this reason, and because of clear
inconsistencies in his testimony, his testimony is not altogether persuasive.

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       Detectives engaged in surveillance of Wilburn and determined that he sometimes stayed at

defendant’s residence at 3234 Glacier Drive. Officers searched defendant’s trash and found evidence

of drug trafficking. Based on the surveillance, interviews and trash searches, officers obtained an

arrest warrant for Wilburn and search warrants for the residences of defendant and Hardy.

       On June 3, 2005, officers arrested Wilburn. They then executed the search warrant for

Hardy’s residence while McAtee and Officer Sean Brown watched defendant’s residence. Brown

radioed McAtee that a white female had parked her car and walked up to the front door. McAtee

approached the woman and learned that she was Christina Krusemark. Krusemark said that she was

there to check on defendant’s dogs. McAtee showed Krusemark the search warrant, and she

unlocked the door for him. After they entered the residence, defendant called Krusemark on her cell

phone. McAtee spoke with defendant on Krusemark’s cell phone, told her about the search warrant

and asked her to come home. Defendant asked McAtee if she could call her father, who is a captain

in the Lawrence police department, and McAtee said that it was up to her.

       Just before 10:00 p.m., defendant arrived at her residence. Her parents, Kevin and Cindy

Harmon, arrived shortly thereafter. McAtee escorted defendant and her parents into the kitchen,

where they all sat down at a table. McAtee told them that Wilburn, defendant’s boyfriend, had been

arrested and that the officers were executing a search warrant on defendant’s residence. Defendant

told McAtee that she wanted to fully cooperate with the investigation, but that she would like to have

a lawyer at any interview. At that point, Brown or Khatib told McAtee that they had found a safe.

Defendant said that she had the combination, and went into the other room to open the safe.

Although Khatib found some cash in the safe, it was not the large amount from the bank account

which the officers had expected to find. Khatib then spoke privately with McAtee and told him that

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a Detective Bonham (first name unknown) had called after executing the search warrant at Hardy’s

residence and said that if they did not find the cash in the safe, it would most likely be in defendant’s

cubicle at the Kansas Social and Rehabilitation Services (“SRS”) building, where she worked.5

        McAtee went back to the kitchen and told defendant and her parents that the detectives

believed that a large sum of cash was somewhere. McAtee asked defendant if she would consent

to a search of her desk at the SRS building. McAtee explained that he needed her consent and that

if she refused, he would have to apply for a search warrant “which may or may not be issued by the

Court.”6 McAtee also told defendant that in his opinion a court would issue the search warrant

because the officers had “an enormous amount of probable cause” to believe that the cash would




        5
                  According to Khatib, Bonham told him that in April of 2005, Hardy told him that she
had withdrawn $8,000 from a joint bank account and given it to Wilburn in February of 2005. Hardy
told Bonham that Wilburn said he was going to keep the cash in a safe at defendant’s residence or
place of work. While Khatib was at defendant’s residence during the search on June 3, 2005,
Bonham called him and told him that he had talked with Hardy about the safe. Bonham told Khatib
that if officers did not find a large amount of money in the safe at defendant’s residence, the money
would probably be at defendant’s work. Khatib then told McAtee about Bonham’s call, and McAtee
asked defendant for permission to search her workplace. Khatib testified that “there was some talk
about getting a search warrant and what – you know, constituted that.”
        6
                According to Harmon, McAtee told them that he could get a warrant to search
defendant’s office and that defendant probably should do the right thing. Harmon testified that he
was shocked when McAtee said that he could get a search warrant, because that is “not what I know
the case law to be.” Harmon testified that he should have interjected about his reaction, but he did
not because “I felt like I was at jeopardy myself.” McAtee also told defendant that if he had to get
a search warrant, defendant’s supervisor would be involved and that it would be embarrassing
because they would probably serve the warrant on a Monday morning in front of defendant’s
coworkers. At some point, McAtee left the kitchen for a while so that defendant could talk with her
parents. Defendant told Harmon that she felt that she had no choice in the matter, and that she had
to consent. Harmon told her that everyone has choices, but that he could not advise her one way or
the other for fear of interfering with the criminal case.

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be stored in defendant’s desk.7

        When McAtee asked defendant for consent to search her desk at work, he told her that if

officers had to get a search warrant, they would have to get a supervisor to open the building.

Defendant asked to speak with her father, and McAtee stepped out of the kitchen. When McAtee

returned, defendant told him that she would allow him to search her desk at work. After defendant

consented, she made the unsolicited comment that Wilburn had placed something in her desk and

that she did not know what it was.

        After McAtee, Khatib and Brown finished searching defendant’s residence, defendant and

her parents drove to meet the officers at the SRS building. When defendant and her parents arrived

at the SRS parking lot in their own separate vehicle, defendant signed a form giving consent to search

her work space. While they entered the building and began the search, McAtee and Khatib asked

defendant numerous questions about who had access to the building, her cubicle and her desk.8

Defendant again made the unsolicited statement that Wilburn had placed an item in her desk and that




        7
                McAtee based that belief on Khatib’s statement that Bonham had information that
the money might be at defendant’s office, as well as all of the circumstances of the ongoing
investigation. McAtee testified that Hardy was one of the cooperating individuals in the
investigation, and that others had corroborated information which she provided during the
investigation. Hardy had told investigators that Wilburn kept large sums of cash in a safe, and that
the safe might be at defendant’s home. Based on all of the circumstances, McAtee believed he had
probable cause to get a search warrant for defendant’s work place. Even before June 3, 2005, Hardy
had told officers that money or a safe might be at defendant’s workplace. In fact, the affidavits for
the applications for the June 3 search warrants contain that information, which Hardy gave in an
interview on April 27, 2005. See Ex. 401, 402.
        8
                  When asked whether defendant’s consent to the search was voluntary, Harmon
testified that “[e]very time you use the term voluntary, I have a different opinion as to whether or not
how voluntary the entire episode is.” Harmon testified that no one threatened defendant. He also
testified that he did not tell his daughter not to give consent because he was afraid.

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she did not know what it was. Defendant unlocked her desk drawer and filing cabinet. McAtee

looked in the bottom drawer behind some files and saw a brown paper sack. McAtee reached inside

the sack and pulled out several bundles of cash totaling $11,000.

B.      Analysis

        Defendant maintains that she did not voluntarily consent to the search of her desk at the SRS

office. She contends that the officers had no reasonable basis to believe that evidentiary items were

located at her workplace and that McAtee had no good faith basis for stating that he could obtain a

search warrant for her office. She contends that McAtee’s claim that he would obtain a warrant

amounts to trickery and deception which was designed to coerce her consent. Defendant also

maintains that the Court should suppress her statements about the paper sack because she made

them as a result of persistent questioning by McAtee after she had asserted her right to remain silent.

        1.     Search Of Defendant’s Workplace

               To determine whether consent is voluntary, the Court must look to the totality of the

circumstances. Relevant factors include physical mistreatment, use of violence or threats of violence,

promises or inducements, deception or trickery, and defendant’s physical and mental condition and

capacity. United States v. Glover, 104 F.3d 1570, 1583-84 (10th Cir. 1997). To admit evidence

obtained during a consent search, the government must “produce clear and positive testimony that

the consent was unequivocal, specific, and freely given” and also show a lack of duress or coercion.

Id. at 1584.

        Defendant maintains that McAtee’s statement that he would obtain a search warrant for the

office was coercive. According to McAtee, however, he merely said that he would apply for a

warrant. The government asserts that even if McAtee stated unequivocally that he would get a

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warrant, such a statement by itself does not render the consent involuntary. See United States v.

Salvo, 133 F.3d 943, 954 (6th Cir. 1998) (consent not tainted by agent’s statements that he would

obtain warrant if defendant did not consent to search); see also United States v. White, 979 F.2d 539,

542 (7th Cir. 1992) (when expressed intent to obtain warrant is genuine and not merely pretext to

induce submission, it does not vitiate consent); United States v. Kaplan, 895 F.2d 618, 622 (9th Cir.

1990) (consent not likely to be invalid where officer tells defendant that he can obtain search warrant

if officer has probable cause on which warrant could issue); United States v. Blanco, 844 F.2d 344,

351 (6th Cir. 1988) (consent voluntary even though investigator told suspect that if he refused to sign

consent, he would attempt to secure search warrant).

       McAtee testified that before he asked defendant for consent, he believed that he had sufficient

information to obtain a search warrant. The record contains no evidence that McAtee’s statement

about the search warrant was baseless or a pretext to coerce defendant, and it does not render

defendant’s consent involuntary. See United States v. Creech, No. 99-3205, 2000 WL 1014868 (10th

Cir. July 24, 2000) (where some facts support application for search warrant, officer’s expressed

intention to seek search warrant in absence of consent does not render consent involuntary).

Defendant understood that she had a right to refuse consent. Further, McAtee’s statement was

justifiable in the circumstances. A search of defendant’s residence had uncovered a safe, and a

reliable informant had told the officers that Wilburn had given defendant cash to hide in a safe. The

safe did not contain the large sum of money which Wilburn sought to hide, and the informant told

officers that if the money was not at defendant’s residence, it would likely be at her workplace.

Furthermore, during the search, officers had found drug paraphernalia and documents which

implicated defendant in drug transactions. The record does not support defendant’s claim that

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McAtee’s statement about the search warrant was baseless or a pretext to obtain her consent.

       Defendant also asserts that her consent was coerced because McAtee told her that if a search

warrant was required, officers would execute it in front of her co-workers and supervisor and cause

defendant great embarrassment. Even if true, however, such a statement standing alone would not

render defendant’s consent involuntary. Given the other circumstances surrounding the search –

defendant’s freedom of movement, ability to speak privately with her parents before giving consent,

and signature of a written consent form – the Court finds that the government has established that

defendant’s consent was not procured through duress or coercion. See United States v. Hernandez,

93 F.3d 1493, 1499 (10th Cir. 1996). In fact, the government has produced clear and positive

testimony that defendant’s consent was unequivocal, specific and freely given.

       2.      Defendant’s Statements

               Defendant also seeks to suppress her statements that Wilburn had given her

something to put in her desk but she that did not know what it was. Defendant asserts that she made

these statements in response to McAtee’s questions after she had invoked her right to speak with an

attorney. See Edwards v. Arizona, 451 U.S. 477, 484-86 (1981) (accused who expressed desire to

deal with police only through counsel should not be subject to further interrogation unless accused

initiates further communication, exchanges or conversations with police). The government asserts

that McAtee did not question defendant other than to ask for consent to search her desk at SRS and

to ascertain that the areas searched were within her control. Indeed, the record includes no evidence

that other than to seek defendant’s consent to search and determine that she had control over her

work area so that she could consent to a search of it, McAtee or other officers questioned defendant.

United States v. McCurdy, 40 F.3d 1111, 1118 (10th Cir. 1994) (request to search not interrogation

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which implicates Miranda rights); see also United States v. McClellan, 165 F.3d 535, 544 (7th Cir.

1999) (consent to search not incriminating statement; request to search does not amount to

interrogation). Defendant’s statements that Wilburn had placed something in her desk were not in

response to questions by officers. Defendant voluntarily initiated these statements about what was

in her work area, and the Court finds that they should not be suppressed.

       IT IS THEREFORE ORDERED THAT Defendant’s Motion[s] To Dismiss Count 13 Of

The Indictment, To Strike Certain Allegations From The Indictment, And To Suppress Evidence

(Docs. #42 and #50) filed September 6, 2005 be and hereby are OVERRULED.

       Dated this 6th day of January, 2006, at Kansas City, Kansas.

                                                     Kathryn H. Vratil`
                                                     Kathryn H. Vratil
                                                     United States District Judge




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